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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                              BILLINGS DIVISION



  ARIANE ROWLAND and JAMIE
  SCHULZE,                                         CV 20-59-BLG-SPW


                      Plaintiffs,
                                                    ORDER GRANTING
  vs.                                               HARDIN
                                                    CONGREGATION'S
  WATCHTOWER BIBLE AND TRACT                        MOTION TO
  SOCIETY OF NEW YORK,INC.,                         PERMISSrVELY
  WATCH TOWER BIBLE AND TRACT                       INTERVENE PURSUANT
  SOCIETY OF PENNSYLVANIA,                          TO RULE 24(b),
                                                    F.R.CIV.P.
                      Defendants.




The Hardin Congregation, a non-party in the present matter, filed a Motion to

Permissively Intervene under F.R.Civ.P. 24(b) for the exclusive purpose of

responding to Plaintiffs Motion to Compel Re: Hardin Congregation Subpoena.

(Doc. 53). The Motion is unopposed. Therefore, the Court finds that the Hardin

Congregation's Motion satisfies the requirements of F.R.Civ.P. 24(b) and, for good

cause appearing,

        IT IS HEREBY ORDERED that the Hardin Congregation's Unopposed

Motion to Intervene(Doc. 53)is GRANTED.
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